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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.
                                                  FIRST SUPPLEMENTAL
              Plaintiffs,                    RESPONSES TO PLAINTIFFS’ FIRST
                                          SET OF REQUESTS FOR PRODUCTION
                     -vs-                  TO DEFENDANT CITY OF BUFFALO, N.Y.

CITY OF BUFFALO, et al.                              Civil Action No.: 18-cv-719

            Defendants.
____________________________________________

       Defendant, CITY OF BUFFALO (“City”) offer the following in response to

“PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION TO DEFENDANT CITY

OF BUFFALO, N.Y.” based on information available as of the date prescribed herein.


                                GENERAL OBJECTIONS

       1.      The City responds to each and every document request subject to the

general objections set forth herein. These objections form a part of the response to

each and every document request and are set forth herein to avoid duplication by

restating them for each document request. These general objections may be specifically

referred to in response to a certain document request for the purpose of clarity. However,

the failure specifically to refer to a general objection is not and shall not be construed to

be a waiver of any general objection, even if other general objections are specifically

stated in response to a document request.

       2.     The City objects to each of the requests to the extent that they seek

information and documents that they seek materials prepared in anticipation of litigation
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or are subject to the attorney-client privilege, attorney work product doctrine,

deliberative process privilege, law enforcement privilege, prosecutorial privilege, or any

other applicable privilege, including but not limited to those set forth by statutes such as

the New York State Civil Rights Law §§50-a and 50-b, New York Public Officers Law §86,

the New York Social Services Law, the Health Insurance Portability And Accountability

Act (HIPAA), and 18 NYCRR §357.1.

       3.      The City objects to each of the requests to the extent that they seek to impose

upon Defendants any obligation beyond those imposed by the Federal Rules of Civil

Procedure. The City objects to each of the requests and to the preliminary statement,

definitions, and instructions that accompany them, to the extent that they are not

consistent with the Federal Rules of Civil Procedure and/or the Local Rules of Civil

Procedure and/or attempt to impose requirements greater than those imposed by each

or all of those rules. The City object to these requests to the extent that they seek to impose

an obligation upon the defendant to collect an obtain information from any person or

entity that is not a party to this action.

       4.       The City objects to each of the document requests to the extent they are

vague, ambiguous, overbroad, unduly burdensome, oppressive, unlimited in time, scope

or subject, and call for unbounded discovery.

       5.      The City objects to each of the document requests to the extent that they

are not reasonably calculated to lead to the discovery of admissible evidence or seek

information material and necessary to the prosecution or defense of this action.



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       6.     The City objects to each of the document requests to the extent that they

seek information not in the possession of the Defendants or their agents/employees.

       7.     The City reserves the right to challenge the competency, relevance,

materiality and admissibility of, and to object on any grounds to, the use of the

information and/or documents provided hereby in any proceeding or trial of this or

any other action.

       8.      The City objects to the document requests insofar as they state or imply

contested facts, circumstances, legal conclusions, issues, events or circumstances. The

City’s responses to these document requests shall not constitute any admission of any

fact, event, circumstance, issue, or legal conclusion.

       9.     The City objects to any requests for original evidence, records, documents,

and things; the City will not release original evidence or things to any party for discovery

purposes but will provide a reasonable opportunity for appropriate viewing in the

presence of all parties.

       10.    The City expressly reserves the right to amend and supplement the

following responses and document requests with respect to additional information,

material, and documents supplied or obtained in the course of discovery herein.

       11.    The City objects to these requests to the extent that they do not describe the

documents sought with reasonable particularity.

       12.    The City objects to these interrogatories to the extent that they seek

information which is proprietary in nature.



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                     RESPONSES TO DOCUMENT REQUESTS

      REQUEST NO. 1: All Documents and Communications relating to the creation

of the Strike Force, including but not limited to the reasons for or purposes of the

Strike Force’s creation, without limitation to time period.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000940 and COB003907-COB003908,

on the enclosed compact disk, and will supplement this request if and when additional

documents or communications are located.


      REQUEST NO. 2: All Documents and Communications relating to the purpose,

mandate, goal, function, or mission of the Strike Force, without limitation to time

period.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000969, COB000985-COB001347;



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COBCOB001613-COB001636, COB001962-COB003602, and COB003907-COB003908, on

the enclosed compact disk, and will supplement this request if and when additional

documents or communications are located.


      REQUEST NO. 3: All Documents and Communications relating to the creation

of the Housing Unit, including but not limited to the reasons for or purposes of the

Housing Unit’s creation, without limitation to time period.

      OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000940, COB003842-COB003850, and

COB003904-COB003905, on the enclosed compact disk, and will supplement this request

if and when additional documents or communications are located.


      REQUEST NO. 4: All Documents and Communications relating to the purpose,

mandate, goal, function, or mission of the Housing Unit, without limitation to time

period.

      OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

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       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000969, COB001551-COB001613,

COB001637-COB001941, COB003842-COB003850, and COB003904-COB003905, on the

enclosed compact disk, and will supplement this request if and when additional

documents or communications are located.


       REQUEST NO. 5: All Documents and Communications relating to the creation

of the Buffalo Traffic Violation Agency (BTVA) without limitation to time period,

including but not limited to the reasons for or purposes of the BTVA’s creation.

       OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003877-COB003903 on the enclosed compact disk

and will supplement this request if and when additional documents or communications

are located.


       REQUEST NO. 6: All Documents and Communications relating to the purpose,

mandate, goal, function, or mission of the BTVA, including but not limited to BTVA

annual reports, without limitation to time period.

       OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

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seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003877-COB003903 on the enclosed compact disk

and will supplement this request if and when additional documents or communications

are located.


       REQUEST NO. 7: All Documents and Communications relating to the BPD’s

decision to establish or conduct Checkpoints, without limitation to time period.

       OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000985-COB001347 and COB001962-COB3602 on

the enclosed compact disk and will supplement this request if and when additional

documents or communications are located.


       REQUEST NO. 8: All Documents and Communications relating to the BPD’s

decision to end the Strike Force.

       OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and




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seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003906 on the enclosed compact disk and will

supplement this request if and when additional documents or communications are

located.


      REQUEST NO. 9: All Documents and Communications consulted or reviewed

by the BPD in order to determine the physical location of each Checkpoint or group of

Checkpoints, including any Documents and Communications referring or relating to

strategy or other considerations in determining Checkpoint location.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000985-COB001347 and COB001962-COB3602 on

the enclosed compact disk and will supplement this request if and when additional

documents or communications are located.


      REQUEST NO. 10: All BPD Housing Unit Monthly and Weekly Statistics

Reports.




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       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB001551-COB001612 and COB001637-COB001941

on the enclosed compact disk and will supplement this request if and when additional

documents or communications are located.


       REQUEST NO. 11: All BPD Housing Unit Daily Reports, including but not

limited to Daily Statistical Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.


       REQUEST NO. 12: All BPD Strike Force Monthly and Weekly Statistics

Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

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privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, at this time, the City is not aware of any responsive

documents or communications at this time.


       REQUEST NO. 13: All BPD Strike Force Unit Daily Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.


       REQUEST NO. 14: All BPD Division of Traffic Enforcement Monthly and

Weekly Statistics Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, at this time, the City is not aware of any responsive

documents at this time.

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       REQUEST NO. 15: All BPD Division of Traffic Enforcement Daily Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, at this time, the City is not aware of any responsive

documents at this time.


       REQUEST NO. 16: All Documents and Communications containing statistical,

demographic, or other information regarding the operation of Checkpoints by any part

of the BPD, to the extent not already responsive to Requests 10 through 15.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, at this time, the City is not aware of any responsive

documents or communications at this time.




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      REQUEST NO. 17: All completed BPD Roadblock Directives.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB001962-COB3602 on the enclosed compact disk

and will supplement this request if and when additional documents are located.


      REQUEST NO. 18: All completed Traffic Safety Checkpoint Tally Sheets.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB001962-COB3602 on the enclosed compact disk

and will supplement this request if and when additional documents are located.


      REQUEST NO. 19: All other completed directives, tally sheets, and/or similar

Documents and Communications discussing the date, time, location, and/or results of




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Checkpoints carried out by the BPD, to the extent not already responsive to Requests

17 and 18.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000985-COB001347 on the enclosed compact disk

and will supplement this request if and when additional documents or communications

are located.


       REQUEST NO. 20: For each officer assigned to the Housing Unit, all activity

reports and other Documents and Communications completed by Housing Unit

Officers to record their enforcement activity (tickets, arrests, traffic stops) on a daily,

weekly, monthly, quarterly, and annual basis.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.




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      REQUEST NO. 21: For each officer assigned to the Strike Force, all activity

reports and other Documents and Communications completed by Strike Force Officers

to document their enforcement activity (tickets, arrests, traffic stops) on a daily,

weekly, monthly, quarterly, and annual basis.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.


      REQUEST NO. 22: All Documents and Communications concerning the

procedures, information, and criteria used to evaluate the performance of Housing

Unit and Strike Force officers.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000969, COB003842-COB003876,

COB003904-COB003905, and COB003907-COB003908, on the enclosed compact disk, and




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will supplement this request if and when additional documents or communications are

located.


         REQUEST NO. 23: For each officer assigned to the Housing Unit and/or Strike

Force, copies of all monthly, quarterly and annual performance evaluations of that

officer conducted while he or she was assigned to the Housing Unit and/or Strike

Force.

         OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

         RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, at this time, the City is not aware of any responsive

documents or communications at this time.


         REQUEST NO. 24: Electronic or computerized data compilations sufficient to

show for each Checkpoint conducted by the BPD:

               a.     The number of license plates checked, by an automated license

                      plate reader or otherwise, at the Checkpoint;

               b.     The unit or division within BPD that conducted the Checkpoint;

               c.     The date, time, duration and Location of the Checkpoint;




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       d.    The number of Persons selected for a secondary stop at the

             Checkpoint and the race, ethnicity, national origin, and any other

             demographic data recorded for each such Person;

       e.    The number of Persons who received a Traffic Ticket at the

             Checkpoint, the number of tickets each such Person received, and

             the race, ethnicity, national origin, and any other demographic

             data recorded for each such Person;

       f.    The number of firearms confiscated at the Checkpoint and the

             race, ethnicity, national origin, and any other demographic data

             recorded for each such Person;

       g.    The number of Persons arrested for a traffic misdemeanor at the

             Checkpoint and the race, ethnicity, national origin, and any other

             demographic data recorded for each such Person;

       h.    The number of Persons arrested for a non-traffic misdemeanor at

             the Checkpoint and the race, ethnicity, national origin, and any

             other demographic data recorded for each such Person;

       i.    The number of Persons arrested for a felony at the Checkpoint

             and the race, ethnicity, national origin, and any other

             demographic data recorded for each such Person;

       j.    The number of vehicles towed following a stop at the

             Checkpoint, the reason for towing the vehicle, and the race,




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                    ethnicity, national origin, and any other demographic data

                    recorded for the driver of each such vehicle;

             k.     The number of vehicles impounded following a stop at the

                    Checkpoint, the reason for impoundment, and the race, ethnicity,

                    national origin, and any other demographic data recorded for the

                    driver of each such vehicle;

             l.     The number of vehicles released from impound following a stop

                    at the Checkpoint and the race, ethnicity, national origin, and any

                    other demographic data recorded for each Person whose vehicle

                    was released following a stop at the Checkpoint; and

             m.     The number of vehicles auctioned following a stop at the

                    Checkpoint and the race, ethnicity, national origin, and any other

                    demographic data recorded for each Person whose vehicle was

                    auctioned following a stop at the Checkpoint.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

      RESPONSE: Without waiving any general or specific objections, the City is not

aware of any “electronic or computerized data compilations” responsive to this request.




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      REQUEST NO. 25: Electronic or computerized data compilations sufficient to

show for each and every Traffic Ticket issued and/or traffic-related arrest:

          a. The identity of the person(s) stopped, ticketed or arrested (names may

             be anonymized but stops, tickets, and arrests must be traceable at the

             individual level);

          b. The identity of the officer issuing the ticket or arrest (Name, Unit, and

             Badge Number);

          c. The date, time, and Location of the stop giving rise to the ticket or

             arrest;

          d. Whether the stop occurred at a Checkpoint;

          e. The race of the person(s) stopped, ticketed, or arrested;

          f. The gender of the person(s) stopped, ticketed, or arrested;

          g. The age of the person(s) stopped, ticketed, or arrested;

          h. All VTL and/or City of Buffalo Municipal Code violations for which the

             person was ticketed and/or arrested;

          i. All misdemeanor, traffic misdemeanor, and felony arrests made as a

             result of the stop, including the specific provision(s) forming the basis

             for the arrest;

          j. All weapons seized as a result of the stop, including the nature of the

             weapon;

          k. The total amount of cash seized as a result of the stop;




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      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

      RESPONSE: Without waiving any general or specific objections, the City is not

aware of any “electronic or computerized data compilations” responsive to this request.


      REQUEST NO. 26: Copies of all Traffic Tickets issued by the BPD.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information which may be sealed and/or subject to confidentiality or other privacy

concerns.


      REQUEST NO. 27: All Documents and Communications relating to any reports,

notes, memoranda, files, data sets, databases, or other paper or electronic mechanisms

used by You to record, transmit, maintain, tabulate, aggregate, analyze, and/or review

information relating to any Checkpoint conducted by the BPD.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege and/or the law

enforcement privilege, or which is proprietary in nature.




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      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000985-COB001347 and COB0001962-COB003602

on the enclosed compact disk and will supplement this request if and when additional

documents or communications are located.


      REQUEST NO. 28: All Documents and Communications relating to any reports,

notes, memoranda, files, data sets, databases, or other paper or electronic mechanisms

used by You to record, transmit, maintain, tabulate, aggregate, analyze, and/or review

information relating to Traffic Tickets issued and/or misdemeanor and/or felony

traffic arrests made by BPD officers.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.


      REQUEST NO. 29: All Documents and Communications showing the dates,

times, offense categories and Locations of all reported crimes in the City of Buffalo.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

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      REQUEST NO. 30: All Documents and Communications showing the dates,

times and Locations of all traffic accidents that occurred in the City of Buffalo.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.


      REQUEST NO. 31: All Documents and Communications relating to the time

individuals waited during Checkpoints (“wait times”), average wait times, and/or or

other measures of individual or aggregate waiting times, for Persons driving through

a Checkpoint established by the Strike Force or Housing Unit.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


      REQUEST NO. 32: All Documents and Communications relating to the average

wait times, or other measures of individual or aggregate waiting times, for Persons



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pulled over for a secondary stop at a Checkpoint established by the Strike Force or

Housing Unit.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


      REQUEST NO. 33: All Documents and Communications relating to BPD’s use

of computer software and/or technology to issue traffic tickets.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege and/or the law

enforcement privilege, or which is proprietary in nature.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003603-COB003638 and COB0004327-COB004336

on the enclosed compact disk and will supplement this request if and when additional

documents or communications are located.


      REQUEST NO. 34: All Documents and Communications relating to the

academic study by Andrew P. Wheeler and Scott W. Phillips referenced at paragraph

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56 and n.7 of the Complaint, including all communications, data, and Documents and

Communications shared with the study authors and/or their staff and interns.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


      REQUEST NO. 35: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to Checkpoints,

including but not limited to, deciding where and when to conduct a Checkpoint,

conducting initial and secondary stops, performing searches, issuing Traffic Tickets,

making misdemeanor and felony arrests, and/or towing or impounding cars at

Checkpoints.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.




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      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000969, COB000985-COB001347,

COB001962-COB003602, and COB003842-COB3850, on the enclosed compact disk and

will supplement this request if and when additional documents or communications are

located.


      REQUEST NO. 36: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to enforcing the Vehicle

and Traffic Law, including but not limited to conducting traffic stops, performing

searches of vehicles, issuing Traffic Tickets, making misdemeanor and felony arrests

following traffic stops, and/or towing or impounding vehicles following traffic stops.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000984, COB000985-COB001347,

COB001962-COB003602, and COB003842-COB3850, on the enclosed compact disk as well

as those possibly in the possession of the Police Academy at the Police Training Academy

operated by Erie County’s Central Police Services at Erie Community College North




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Campus, which may be responsive to this request, and will supplement this request if

and when additional documents or communications are located.


      REQUEST NO. 37: All Documents and Communications relating to BPD

policies, practices, directives, forms, guidelines, standards, rules, regulations, orders,

training materials or instructions relating to the use of Automatic License Plate

Readers and storage of ALPR data.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000984, COB000985-COB001347,

COB001962-COB003602, and COB003842-COB3850, on the enclosed compact disk as well

as those possibly in the possession of the Police Academy at the Police Training Academy

operated by Erie County’s Central Police Services at Erie Community College North

Campus, which may be responsive to this request, and will supplement this request if

and when additional documents or communications are located.


      REQUEST NO. 38: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to compliance with the




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Fourth and Fourteenth Amendment of the United States Constitution, including the

rights to due process and equal protection.

      OBJECTION: The City objects to this request insofar as it is argumentative, overly

broad, burdensome, vague, is not likely to result in the production of admissible

evidence, and seeks information protected by the deliberative process privilege, and/or

the law enforcement privilege.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000984, COB000985-COB001347,

COB001962-COB003602, and COB003842-COB3850, on the enclosed compact disk as well

as those possibly in the possession of the Police Academy at the Police Training Academy

operated by Erie County’s Central Police Services at Erie Community College North

Campus, which may be responsive to this request, and will supplement this request if

and when additional documents or communications are located.


      REQUEST      NO. 39: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to racial profiling,

biased policing, and/or the use of race in law enforcement decision-making.

      OBJECTION: The City objects to this request insofar as it is argumentative, overly

broad, burdensome, vague, is not likely to result in the production of admissible

evidence, and seeks information protected by the deliberative process privilege, and/or

the law enforcement privilege.



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      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000984, COB000985-COB001347,

COB001962-COB003602, and COB003842-COB3850, on the enclosed compact disk as well

as those possibly in the possession of the Police Academy at the Police Training Academy

operated by Erie County’s Central Police Services at Erie Community College North

Campus, which may be responsive to this request, and will supplement this request if

and when additional documents or communications are located.


      REQUEST NO. 40: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to supervisory review of

the traffic enforcement activities, including, but not limited to, Checkpoints, traffic

stops, traffic tickets, and traffic misdemeanor arrests, conducted by BPD officers.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000984, COB000985-COB001347,

COB001962-COB003602, and COB003842-COB3850, on the enclosed compact disk as well

as those possibly in the possession of the Police Academy at the Police Training Academy



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operated by Erie County’s Central Police Services at Erie Community College North

Campus, which may be responsive to this request, and will supplement this request if

and when additional documents or communications are located.


        REQUEST NO. 41: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally or in writing

about any Checkpoint established by the Strike Force or Housing Unit.

        OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

        RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents at this

time.


        REQUEST NO. 42: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally or in writing

related to alleged racial profiling, bias or discrimination by the BPD.

        OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,




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the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


       REQUEST NO. 43: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally on in writing

related to BPD traffic stops, traffic ticketing, and/or other traffic enforcement practices.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003639-COB003841 on the enclosed compact disk

and will supplement this request if and when additional documents or communications

are located.


       REQUEST NO. 44: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally or in writing

about traffic safety, including but not limited to requests from the public for increased

traffic enforcement.

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       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003639-COB003841 on the enclosed compact disk

and will supplement this request if and when additional documents or communications

are located.


       REQUEST NO. 45: All Documents and Communications relating to any

analysis, evaluation, review, recording, or study of Checkpoints, including the race,

ethnicity, national origin or other demographic data of individuals who drove through

and/or were stopped at Checkpoints and the extent to which such Checkpoints

enhanced or detracted from traffic safety.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.



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       REQUEST NO. 46: All Documents and Communications relating to the

September 18, 2018 report provided by the Buffalo Police Advisory Board to the

Buffalo Common Council Police Oversight Committee.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege. The City also objects that the term “report” is vague, subject to

multiple meetings, and does not describe the documents sought with reasonable

particularity.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003909--COB004326, on the enclosed compact

disk and will supplement this request if and when additional documents or

communications are located.


       REQUEST NO. 47: Documents and Communications sufficient to show all

federal financial assistance received by the Buffalo Police Department.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.




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       REQUEST NO. 48: All Documents and Communications concerning the

defenses asserted in Defendants’ Answer, including Documents and Communications

that support or refute the defenses.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.


       REQUEST NO. 49: All Documents identified in response to Plaintiff Black

Love Resists’ First Set of Interrogatories to Defendant City of Buffalo, N.Y.

       OBJECTION: The City objects to this request insofar as it is requests documents

not in the custody or control of the City.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is aware of the documents bates numbered

COB000001-COB004326, on the enclosed compact disk and will supplement this request

if and when additional documents or communications are located.

Dated: March 15, 2019
       Buffalo, New York
                                                  TIMOTHY A. BALL, ESQ.
                                                  Corporation Counsel


                                                  /s/Robert E. Quinn
                                                  By: Robert E. Quinn
                                                  65 Niagara Square - 1103 City Hall
                                                  Buffalo, NY 14202
                                                  Tel.: (716) 851-4326
                                                  rquinn@ch.ci.buffalo.ny.us

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TO:    NCLEJ
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       275 Seventh Avenue, Suite 1506
       New York, NY 10001
       wilner@nclej.org




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,
                                                   CERTIFICATE OF SERVICE
                     -vs-
                                                    Civil Action No.: 18-cv-719
CITY OF BUFFALO, et al.

            Defendants.
____________________________________________

      I, Robert E. Quinn, hereby certify that on March 15, 2018, the annexed document
was electronically served on Counsel for the Plaintiffs in this case:

                         Claudia Wilner, Esq.
          NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
                    275 Seventh Avenue, Suite 1506
                         New York, NY 10001
                           wilner@nclej.org

I certify under penalty of perjury that the foregoing is true and correct.

Dated: March 15, 2019
       Buffalo, New York

                                                  TIMOTHY A. BALL, ESQ.
                                                  Corporation Counsel


                                                  /s/Robert E. Quinn
                                                  By: Robert E. Quinn
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